      Case 2:17-cv-00964-KJN Document 15 Filed 02/09/18 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT

 9                          EASTERN DISTRICT OF CALIFORNIA

10

11 SAIDEH FARAHMANDNIA                          CASE NO.: 2:17-cv-00964-KJN

12            Plaintiff,                        ORDER GRANTING JOINT
                                                STIPULATION FOR DISMISSAL OF
13      vs.                                     ENTIRE ACTION WITH PREJUDICE

14 NAVIENT SOLUTIONS, INC.,

15            Defendant.

16

17

18
19

20

21

22

23

24

25

26
27

28

                             ORDER GRANTING JOINT STIPULATION FOR
                           DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
        Case 2:17-cv-00964-KJN Document 15 Filed 02/09/18 Page 2 of 2


 1                                                ORDER
 2          The Court has reviewed the Joint Stipulation of Dismissal of Entire Action with Prejudice

 3 (the “Stipulation”) filed by Plaintiff Saideh Farahmandnia (“Plaintiff”) and Defendant Navient

 4 Solutions, LLC, f/k/a as Navient Solutions, Inc. (“NSL”) (collectively, the “Parties”):

 5          IT IS HEREBY ORDERED that Plaintiff’s Complaint in the above-referenced action is

 6 dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Pursuant to

 7 the Parties’ Stipulation, each party shall bear its own respective attorneys’ fees and costs incurred

 8 in this action. The Clerk of Court shall close this case.

 9

10 IT IS SO ORDERED.

11 Dated: February 9, 2018

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28
                                                      1
                                ORDER GRANTING JOINT STIPULATION FOR
                              DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
